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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


   JILL BABCOCK, et al.,                   Case No.: 2:22-cv-12951

        Plaintiffs,                        JUDGE JONATHAN J.C. GREY

   v.

   STATE OF MICHIGAN, et al.,

        Defendants.

                             INDEX OF EXHIBITS

  EXHIBIT 1                          Compromise and Settlement Agreement,
                                     Lane v Tennessee US District Court Middle
                                     District of Tennessee Case No. 3:98 CV
                                     0731.

  EXHIBIT 2                          Joinder Motion Filed Dec 17 1998, Lane v
                                     Tennessee US District Court Middle District
                                     of Tennessee Case No. 3:98 CV 0731.

  EXHIBIT 3                          Joinder Motion Filed Jul 18 2002, Lane v
                                     Tennessee US District Court Middle District
                                     of Tennessee Case No. 3:98 CV 0731.

  EXHIBIT 4                          Michigan Trial Court Funding Commission
                                     Final Report 09.06.19 pursuant to Michigan
                                     Public Act 65 of 2017.

                                     Respectfully Submitted,

  Dated: November 08, 2024            /s/ Michael W. Bartnik
                                      MICHAEL W. BARTNIK (P32534)
                                      Law For Baby Boomers, PLLC
                                      41000 Woodward Ave., Ste. 350
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                                      Bloomfield Hills, Michigan 48304
                                      (248) 608-3660 Telephone
                                      michaelbartnik@protonmail.com

                                      Elizabeth K. Abdnour (P78203)
                                      Abdnour Weiker, LLP
                                      500 E. Michigan Ave., Ste. 130
                                      Lansing, Michigan 48912
                                      (517) 994-1776 Telephone
                                      liz@education-rights.com

                                      Renee A. Stromski (Ohio 0101347)
                                      Abdnour Weiker, LLP
                                      262 South Third St.
                                      Columbus, Ohio 43215
                                      (216) 714-1515 Telephone
                                      renee@education-rights.com

                                      Attorneys for Plaintiffs




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